                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 2:11-00002
                                                    )       Judge Trauger
[1] SPIKE WILLIAM HEDGECOTH                         )

                                          ORDER

       At the sentencing hearing, it became clear that the sentencing needs to be postponed. It is

hereby ORDERED that this case is set for a status conference on Thursday, January 9, 2014, at

3:00 p.m.

       It is so ORDERED.

       ENTER this 5th day of December 2013.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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